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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

                       SETTLEMENT CONFERENCE MINUTES


Tracy Proctor,                                            COURT MINUTES
                                                     BEFORE: David T. Schultz
      Plaintiff,                                    United States Magistrate Judge

v.                                              Case No.    20-cv-2472 (JRT/DTS)
                                                Date:       September 13, 2021
Unum Life Insurance Company of America,         Location:   Courtroom 9E
                                                Time Commenced: 9:00 a.m.
      Defendant.                                Time Concluded: 12:00 p.m.
                                                Total Time:    3 hrs.


APPEARANCES:

      For Plaintiff:    Robert Leighton

      For Defendant: Terrance Wagener




PROCEEDINGS:

      _X_     No settlement reached.

      ___     Binding settlement reached. Terms stated on the record. Any transcript or
              copy of the audio file of the terms of settlement is CONFIDENTIAL and shall
              be SEALED, with access being allowed only to the parties and their counsel.
              (Audio: T:/zoom)


Date: September 13, 2021                        s/Terianne
                                                Courtroom Deputy
